      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 1 of 34 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                        )
YUPOONG INC.;                                           )
FLEXFIT LLC,                                            )
                                                        )
       Plaintiffs,                                      ) Case No.: 1:19-cv-06675
                                                        )
v.                                                      )
                                                        )
THE 723 INDIVIDUALS, CORPORATIONS,                      )
LIMITED LIABILITY COMPANIES,                            )
PARTNERSHIPS, AND                                       )
UNINCORPORATED ASSOCIATIONS                             )
IDENTIFIED ON SCHEDULE A HERETO,                        )
                                                        )
       Defendants.                                      )
                                                        )
                                                        )


                                         COMPLAINT

       Plaintiffs YUPOONG INC. and FLEXFIT LLC (collectively “Plaintiffs”), by their

undersigned counsel, hereby complain of the Individuals, Corporations, Limited Liability

Companies, Partnerships, and Unincorporated Associations identified on Schedule A attached

hereto (collectively, “Defendants”), and for their Complaint hereby allege as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)–(b),

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a) because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.


                                                 1
      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 2 of 34 PageID #:1




        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants, because each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiffs’ trademark. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars, and, on

information and belief, has sold products bearing counterfeit versions of Plaintiffs’ federally

registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiffs substantial

injury in the State of Illinois.

                                        INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputation and goodwill by selling and/or offering for sale products in connection

with the Plaintiffs’ FLEXFIT trademarks, which are covered by, inter alia, U.S. Trademark

Registration No. 2,379,790. 1 The Registrations are valid, subsisting, and in full force and effect. A

true and correct copy of the federal trademark registration certificate, including registered change

of name document, is attached hereto as Exhibit 1.


1
  Plaintiffs have over 40 U.S. Trademark Registrations for various marks utilized in their
catalogue of products. The most relevant registration for this case is U.S. Trademark Registration
No. 2,379,790, which covers the word mark FLEXFIT in International Class 025 and was
registered on August 22, 2000 (and has a first use in commerce in 1994).

                                                  2
          Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 3 of 34 PageID #:1




           4.    The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiffs’

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiffs are forced to file this action to combat Defendants’

counterfeiting of Plaintiffs’ registered trademarks, as well as to protect unknowing consumers

from purchasing unauthorized FLEXFIT products over the Internet. Plaintiffs have been and

continue to be irreparably damaged through consumer confusion, dilution, and tarnishment of

their valuable trademark as a result of Defendants’ actions and seeks injunctive and monetary

relief.

           5.    This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                         THE PLAINTIFF

           6.    Plaintiff YUPOONG INC. is a corporation organized under the laws of Korea

with its principal place of business in Seoul, South Korea.

           7.    Plaintiff FLEXFIT LLC is a limited liability company organized under the laws of

New York with offices in Hicksville, New York and Brea, California.



                                                   3
      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 4 of 34 PageID #:1




       8.      Plaintiff YUPOONG INC. is the registered owner of various FLEXFIT

trademarks, including without limitation U.S. Trademark Registration No. 2,379,790. Plaintiffs

YUPOONG INC and FLEXFIT LLC have earned an international reputation for quality,

reliability, and value and is credited for many breakthroughs that have occurred in the fashion

industry. Plaintiff FLEXFIT LLC is the official source of FLEXFIT products in the United

States, which include the following:




       https://www.flexfit.com/about-us/#our-brands

                                                4
      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 5 of 34 PageID #:1




       9.      Since at least 1994, the FLEXFIT marks are and have been the subject of

substantial and continuous marketing and promotion by Plaintiffs. Plaintiffs have and continue to

widely market and promote the FLEXFIT marks in the industry and to consumers. Plaintiffs’

promotional efforts include — by way of example, but not limitation — substantial print media,

the FLEXFIT website and social media sites, and point of sale materials.

       10.     The FLEXFIT trademarks are distinctive and identify the merchandise as goods

from Plaintiffs. The registrations for the FLEXFIT trademarks constitute prima facie evidence of

their validity and of Plaintiffs’ exclusive right to use the trademarks pursuant to 15 U.S.C. §

1057(b).

      11.      The FLEXFIT trademarks qualify as famous marks, as that term is used in 15

U.S.C. §1125 (c)(1), and have been continuously used and never abandoned.

       12.     Plaintiffs have expended substantial time, money, and other resources in

developing, advertising, and otherwise promoting the FLEXFIT trademarks. As a result,

products bearing the FLEXFIT trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being products sourced from Plaintiffs.

                                        THE DEFENDANTS

       13.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and




                                                  5
        Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 6 of 34 PageID #:1




continues to sell counterfeit FLEXFIT products to consumers within the United States, including

Illinois and in this Judicial District.

                           THE DEFENDANTS’ UNLAWFUL CONDUCT

         14.    The success of the FLEXFIT brand has resulted in its counterfeiting. Plaintiffs

have identified numerous domain names linked to fully interactive websites and marketplace

listings on platforms such as iOffer and Aliexpress, including the Defendant Internet Stores,

which were offering for sale, selling, and importing counterfeit FLEXFIT products to consumers

in this Judicial District and throughout the United States. Defendants have persisted in creating

the Defendant Internet Stores. Internet websites like the Defendant Internet Stores are estimated

to receive tens of millions of visits per year and to generate over $135 billion in annual online

sales. According to an intellectual property rights seizures statistics report issued by the United

States Department of Homeland Security, the manufacturer’s suggested retail price (MSRP) of

goods seized by the U.S. government in fiscal year 2017 was over $1.2 billion. Internet websites

like the Defendant Internet Stores are also estimated to contribute to tens of thousands of lost

jobs for legitimate businesses and broader economic damages such as lost tax revenue every

year.

         15.    Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine FLEXFIT products. Many of the Defendant

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards, Western

Union, and PayPal. Defendant Internet Stores often include images and design elements that

make it very difficult for consumers to distinguish such counterfeit sites from an authorized

website. Defendants further perpetuate the illusion of legitimacy by offering “live 24/7”



                                                  6
      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 7 of 34 PageID #:1




customer service and using indicia of authenticity and security that consumers have come to

associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and PayPal® logos.

       16.     Plaintiffs have not licensed or authorized Defendants to use the FLEXFIT

trademarks, and none of the Defendants are authorized retailers of genuine FLEXFIT products.

       17.     Upon information and belief, Defendants also deceive unknowing consumers by

using the FLEXFIT trademarks without authorization within the content, text, and/or meta tags of

their websites to attract various search engines crawling the Internet looking for websites relevant

to consumer searches for FLEXFIT products. Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine FLEXFIT products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of

search results after others are shut down. As such, Plaintiffs also seek to disable Defendant

Domain Names owned by Defendants that are the means by which the Defendants could

continue to sell counterfeit FLEXFIT products.

       18.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to



                                                  7
      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 8 of 34 PageID #:1




the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

        19.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. For example, some of the Defendant websites

have virtually identical layouts, even though different aliases were used to register the respective

domain names. In addition, the counterfeit FLEXFIT products for sale in the Defendant Internet

Stores bear similarities and indicia of being related to one another, suggesting that the counterfeit

FLEXFIT products were manufactured by and come from a common source and that, upon

information and belief, Defendants are interrelated. The Defendant Internet Stores also include other

notable common features, including use of the same domain name registration patterns, unique

shopping cart platforms, accepted payment methods, check-out methods, meta data, illegitimate

SEO tactics, HTML user-defined variables, domain redirection, lack of contact information,

identically or similarly priced items and volume sales discounts, similar hosting services, similar

name servers, and the use of the same text and images.

        20.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in



                                                   8
      Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 9 of 34 PageID #:1




small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that

the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       21.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal

transaction logs from previous similar cases indicates that offshore counterfeiters regularly move

funds from U.S.-based PayPal accounts to China-based bank accounts outside the jurisdiction of

this Court.

       22.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use the FLEXFIT trademarks in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit FLEXFIT products into the

United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the

United States, including Illinois and, on information and belief, each Defendant has offered to

sell counterfeit FLEXFIT products into the United States, including Illinois.

       23.     Defendants’ use of the FLEXFIT trademarks in connection with the advertising,

distribution, offering for sale, and sale of counterfeit FLEXFIT products, including the sale of

counterfeit FLEXFIT products into Illinois, is likely to cause and has caused confusion, mistake,

and deception by and among consumers and is irreparably harming Plaintiffs.




                                                  9
     Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 10 of 34 PageID #:1




                                             COUNT I

     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       24.     Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-23 of this Complaint.

       25.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered FLEXFIT trademarks in

connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

The FLEXFIT trademarks are highly distinctive marks. Consumers have come to expect the

highest quality from Plaintiffs’ products provided under the FLEXFIT trademarks.

       26.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the FLEXFIT trademarks without Plaintiffs’ permission.

       27.     Plaintiff YUPOONG INC. is the registered owner of various FLEXFIT

trademarks, including without limitation U.S. Trademark Registration No. 2,379,790, and

Plaintiff FLEXFIT LLC is the official source of FLEXFIT products in the United States. The

United States Registration for the FLEXFIT trademarks (including Exhibit 1) are in full force

and effect. Upon information and belief, Defendants have knowledge of Plaintiffs’ rights in the

FLEXFIT trademarks and are willfully infringing and intentionally using counterfeits of the

FLEXFIT trademarks. Defendants’ willful, intentional, and unauthorized use of the FLEXFIT

trademarks is likely to cause and is causing confusion, mistake, and deception as to the origin

and quality of the counterfeit goods among the general public.

       28.     Defendants’ activities constitute willful trademark infringement and

counterfeiting under 15 U.S.C. §§ 1114, 1117.



                                                  10
     Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 11 of 34 PageID #:1




        29.       The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of counterfeit FLEXFIT products.

        30.       Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known FLEXFIT trademarks.

                                               COUNT II

                    FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        31.       Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-23 of this Complaint.

        32.       Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

FLEXFIT products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiffs or the

origin, sponsorship, or approval of Defendants’ counterfeit FLEXFIT products by Plaintiffs.

        33.       By using the FLEXFIT trademarks in connection with the sale of counterfeit

FLEXFIT products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit FLEXFIT products.

        34.       Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit FLEXFIT

products to the general public under 15 U.S.C. §§ 1114, 1125.

        35.       Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their brand.



                                                   11
     Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 12 of 34 PageID #:1




                                            COUNT III

    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                    (815 ILCS § 510/1, et seq.)

       36.     Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-23 of this Complaint.

       37.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit FLEXFIT products as those of Plaintiffs, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

FLEXFIT products, representing that their products have Plaintiffs’ approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

       38.     The foregoing acts of Defendants constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.

       39.     Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their reputation and goodwill. Unless enjoined by the Court,

Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants and each of them as

follows:

       1.      That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:



                                                 12
Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 13 of 34 PageID #:1




     a. using the FLEXFIT trademarks or any reproductions, counterfeit copies, or

        colorable imitations thereof in any manner in connection with the distribution,

        marketing, advertising, offering for sale, or sale of any product that is not a

        genuine FLEXFIT product or is not authorized by Plaintiffs to be sold in

        connection with the FLEXFIT trademarks;

     b. passing off, inducing, or enabling others to sell or pass off any product as a

        genuine FLEXFIT product or any other product produced by Plaintiffs that is not

        Plaintiffs’ or not produced under the authorization, control, or supervision of

        Plaintiffs and approved by Plaintiffs for sale under the FLEXFIT trademarks;

     c. committing any acts calculated to cause consumers to believe that Defendants’

        counterfeit FLEXFIT products are those sold under the authorization, control, or

        supervision of Plaintiffs, or are sponsored by, approved by, or otherwise

        connected with Plaintiffs;

     d. further infringing the FLEXFIT trademarks and damaging Plaintiffs’ goodwill;

     e. otherwise competing unfairly with Plaintiffs in any manner;

     f. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be

        sold or offered for sale, and which bear any Plaintiff trademark, including the

        FLEXFIT trademarks, or any reproductions, counterfeit copies, or colorable

        imitations thereof;

     g. using, linking to, transferring, selling, exercising control over, or otherwise owning

        the Online Marketplace Accounts, the Defendant Domain Names, or any other



                                          13
     Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 14 of 34 PageID #:1




               domain name or online marketplace account that is being used to sell or is the

               means by which Defendants could continue to sell counterfeit FLEXFIT products;

               and

            h. operating and/or hosting websites at the Defendant Domain Names and any other

               domain names registered or operated by Defendants that are involved with the

               distribution, marketing, advertising, offering for sale, or sale of any product bearing

               the FLEXFIT trademarks or any reproduction, counterfeit copy or colorable

               imitation thereof that is not a genuine FLEXFIT product or not authorized by

               Plaintiffs to be sold in connection with the FLEXFIT trademarks; and

       2.      That Defendants, within fourteen (14) days after service of judgment with notice of

entry thereof upon them, be required to file with the Court and serve upon Plaintiffs a written report

under oath setting forth in detail the manner and form in which Defendants have complied with

paragraph 1 above;

       3.      Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant

Domain Names shall be changed from the current registrant to Plaintiffs, and that the domain

name registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiffs’ selection, and that the domain name registrars take any steps necessary to transfer the

Defendant Domain Names to a registrar of Plaintiffs’ selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4.      Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces such as iOffer and



                                                  14
     Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 15 of 34 PageID #:1




Alibaba Group Holding Ltd., Alipay.com Co., Ltd., and any related Alibaba entities

(collectively, “Alibaba”), social media platforms such as Facebook, YouTube, LinkedIn, Twitter,

Internet search engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain

Names, and domain name registrars, shall:

            a. disable and cease providing services for any accounts through which Defendants

               engage in the sale of counterfeit FLEXFIT products using the FLEXFIT

               trademarks, including any accounts associated with the Defendants listed on

               Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of counterfeit FLEXFIT products using

               the FLEXFIT trademarks; and

            c. take all steps necessary to prevent links to the Defendant Domain Names

               identified on Schedule A from displaying in search results, including, but not

               limited to, removing links to the Defendant Domain Names from any search

               index.

       5.      That Defendants account for and pay to Plaintiffs all profits realized by

Defendants by reason of Defendants’ unlawful acts herein alleged, and that the amount of

damages for infringement of the FLEXFIT trademarks be increased by a sum not exceeding three

times the amount thereof as provided by 15 U.S.C. § 1117.

       6.      In the alternative, that Plaintiffs be awarded statutory damages pursuant to 15

U.S.C. § 1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of

the FLEXFIT trademarks;

       7.      That Plaintiffs be awarded its reasonable attorneys’ fees and costs; and



                                                15
   Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 16 of 34 PageID #:1




     8.      Award any and all other relief that this Court deems just and proper.

Dated:    October 9, 2018                         Respectfully submitted,
                                                  DUNLAP BENNETT & LUDWIG, PLLC
                                              By: /s/ Nicholas A. Kurtz
                                                  Nicholas A. Kurtz
                                                  ARDC No. 6320053
                                                  Dunlap Bennett & Ludwig, PLLC
                                                  55 E. Monroe, Suite 3800
                                                  Chicago, IL 60603
                                                  (312) 868-0714
                                                  nkurtz@dbllawyers.com
                                                  Counsel for Plaintiffs
                                                  YUPOONG INC. and FLEXFIT LLC




                                             16
Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 17 of 34 PageID #:1




                               EXHIBIT 1
  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 18 of 34 PageID #:1




      SCHEDULE A TO COMPLAINT – PROVISIONALLY FILED UNDER SEAL

No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 19 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 20 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 21 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 22 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 23 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 24 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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  Case: 1:19-cv-06675 Document #: 1 Filed: 10/09/19 Page 25 of 34 PageID #:1




No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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